           Case 1:21-cr-00184-ADA-BAM Document 23 Filed 08/04/21 Page 1 of 4

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   Attorneys for Plaintiff
 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:21-CR-00184-DAD-BAM

12                                Plaintiff,              STIPULATION BETWEEN THE PARTIES
                                                          REGARDING PROTECTED INFORMATION
13                          v.

14   DARYOL RICHMOND, aka “Nutcase,”
     “Nuttcase,” and “Nuttcase 3x,”
15   TELVIN BREAUX, aka “AJ” and “Lilcup,”
     and
16   HOLLY WHITE,

17                                Defendants.

18

19          WHEREAS, the discovery in this case contains a large amount of personal information including

20 Social Security numbers, personal identification numbers, dates of birth, financial account numbers,

21 telephone numbers, and residential addresses (“Protected Information”); and

22          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the

23 unauthorized disclosure or dissemination of this information to anyone not a party to the court

24 proceedings in this matter;

25          The parties agree that entry of a stipulated protective order is appropriate.

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27 ///

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      STIPULATION AND ORDER                               1
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           Case 1:21-cr-00184-ADA-BAM Document 23 Filed 08/04/21 Page 2 of 4

 1          THEREFORE, defendant DARYOL RICHMOND, by and through his counsel of record

 2 (“Defense Counsel”), and plaintiff the UNITED STATES, by and through its counsel of record, hereby

 3 agree and stipulate as follows:

 4          1.      This Court may enter a protective order pursuant to Rule 16(d) of the Federal Rules of

 5 Criminal Procedure and its general supervisory authority;

 6          2.      This Order pertains to all discovery provided to or made available to Defense Counsel as

 7 part of discovery in this case (hereafter, collectively known as “the discovery”);

 8          3.      By signing this Stipulation, Defense Counsel agrees not to share any documents that

 9 contain Protected Information with anyone other than Defense Counsel and designated defense

10 investigators and support staff. Defense Counsel may permit the defendant to view unredacted

11 documents in the presence of his attorney, defense investigators, and support staff. The parties agree

12 that Defense Counsel, defense investigators, and support staff shall not allow the defendant to copy

13 Protected Information contained in the discovery. The parties agree that Defense Counsel, defense

14 investigators, and support staff may provide the defendant with copies of documents from which

15 Protected Information has been redacted;

16          4.      The discovery and information therein may be used only in connection with the litigation

17 of this case including exhaustion of direct and collateral appellate proceedings and for no other purpose.

18 The discovery is now and will forever remain the property of the Government. Defense Counsel will

19 return the discovery to the Government or certify that it has been destroyed at the conclusion of the case

20 including exhaustion of direct and collateral appellate proceedings;

21          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

22 ensure that it is not disclosed to third persons in violation of this agreement;

23          6.      Defense Counsel shall be responsible for advising the defendant, as well as Defense

24 Counsel’s employees, other members of the defense team, and defense witnesses, of the contents of this

25 Stipulation and Order; and

26          7.      In the event that the defendant substitutes counsel, undersigned Defense Counsel agrees

27 to withhold discovery from any new counsel unless and until substituted counsel agrees also to be bound

28 by this Stipulation and Order.


      STIPULATION AND ORDER                               2
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 1      IT IS SO STIPULATED.

 2

 3 DATED:     August 3, 2021

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 5                                         /s/ Meghan McLoughlin
                                           MEGHAN MCLOUGHLIN
 6                                         COUNSEL FOR DARYOL RICHMOND
 7

 8
                                           /s/ Joseph Barton
 9                                         JOSEPH BARTON
                                           COUNSEL FOR UNITED STATES
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     STIPULATION AND ORDER                3
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          Case 1:21-cr-00184-ADA-BAM Document 23 Filed 08/04/21 Page 4 of 4

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11   UNITED STATES OF AMERICA,                       CASE NO. 1:21-CR-00184-DAD-BAM

12                              Plaintiff,           PROTECTIVE ORDER BETWEEN THE
                                                     PARTIES REGARDING PROTECTED
13                        v.                         INFORMATION

14   DARYOL RICHMOND, aka “Nutcase,”
     “Nuttcase,” and “Nuttcase 3x,”
15   TELVIN BREAUX, aka “AJ” and “Lilcup,”
     and
16   HOLLY WHITE,

17                             Defendants.

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19
                                                  ORDER
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           For good cause shown, the stipulation between counsel dated August 3, 2021, in Case No. 1:21-
21

22 cr-00184-DAD-BAM, regarding discovery and treatment of Protected Information is approved.

23 IT IS SO ORDERED.

24
        Dated:   August 4, 2021                           /s/ Barbara A. McAuliffe            _
25                                                 UNITED STATES MAGISTRATE JUDGE
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      STIPULATION AND ORDER                          4
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